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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION

UNITED STATES OF AMERICA,                )               CR. 09-50029
                                         )
           Plaintiff,                    )
                                         )           ORDER DENYING
   vs.                                   )       DEFENDANT’S MOTION FOR
                                         )             SEVERANCE
BEN STOCKMAN,                            )
                                         )
           Defendant.                    )

                                 INTRODUCTION

         Defendant Ben Stockman moved this court to sever the trial of his

charges from that of his co-defendant and to sever the trial of the three charges

he is facing in the indictment. See Docket No. 24. The government resists the

motion. This motion was referred for decision to this magistrate judge by the

Chief District Court Judge, the Honorable Karen E. Schreier pursuant to 28

U.S.C. § 636(b)(1)(A).

                                      FACTS

         Mr. Stockman is charged in the indictment filed with the court on

May 19, 2009, with the crimes of conspiracy to distribute cocaine (Count I),

possession of cocaine with the intent to distribute (Count II), and distribution

of cocaine (Count III). See Docket No. 1. The cocaine conspiracy count is

alleged to have been joined in by Mr. Stockman and his co-defendant
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Joe Bradley, as well as other unnamed co-conspirators. The conspiracy is

alleged to have taken place in the District of South Dakota and elsewhere.

      The time frames alleged in the indictment are from October, 2005,

through May 19, 2009, the date of the indictment, for the conspiracy count.

The distribution count as well as the possession with intent to distribute count

are alleged to have taken place in August, 2008, in Rapid City, South Dakota.

      Mr. Stockman filed his motion for severance, seeking a separate trial

from Joe Bradley, and seeking separate trials on each of the three charges he is

facing. See Docket No. 24. The government filed a written response in

resistance to Mr. Stockman’s motion. See Docket No. 33.

                                  DISCUSSION

A.    Severance of the Trial of Co-Defendants is Not Warranted

      Federal Rule of Criminal Procedure 8(b) provides as follows:

      Joinder of Defendants. The indictment or information may
      charge 2 or more defendants if they are alleged to have participated
      in the same act or transaction, or in the same series of acts or
      transactions, constituting an offense or offenses. The defendants
      may be charged in one or more counts together or separately. All
      defendants need not be charged in each count.

See Fed. R. Crim. P. 8(b). The court has no discretion to deny severance of

defendants who are not properly joined under Rule 8(b). See United States v.

Bledsoe, 674 F.2d 647, 654 (8th Cir.), cert. denied sub nom, 459 U.S. 1040

(1982). Misjoinder of defendants under Rule 8(b) is inherently prejudicial. Id.

(citing United States v. Sanders, 563 F.2d 379, 382 (8th Cir. 1977), cert. denied,

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434 U.S. 1020 (1978); Haggard v. United States, 369 F.2d 968, 972-973 (8th

Cir. 1966), cert. denied, 386 U.S. 1023 (1967); United States v. Marionneaux,

514 F.2d 1244, 1248 (5th Cir. 1975); 8 Moore’s Federal Practice ¶ 8.04(2), at 14

(2d ed. 1981)). The propriety of joinder under Rule 8(b) must appear on the

face of the indictment. Bledsoe, 674 F.2d at 655; Sanders, 563 F.2d at 382.

The prerequisites for joinder of defendants under Rule 8(b) are to be liberally

construed in favor of the defendant. Bledsoe, 674 F.2d at 655.

      Importantly, Mr. Stockman does not take issue with the propriety of

joinder of he and Mr. Bradley under Rule 8(b). Therefore, the court presumes

that Mr. Stockman and Mr. Bradley are properly joined under Rule 8(b).1

Instead, Mr. Stockman’s sole authority in support of his argument for

severance of the trial of the defendants in this case is Fed. R. Crim. P. 14.




      1
       The propriety of joinder of these defendants under Rule 8(b) seems
beyond question. “Rule 8(b) requires that there be some common activity
involving all of the defendants which embraces all the charged offenses even
though every defendant need not have participated in or be charged with each
offense.” Bledsoe, 674 F.2d at 656. “In order to be part of the ‘same series of
acts or transactions,’ acts must be part of one overall scheme about which all
joined defendants knew and in which they all participated.” Id. (citing United
States v. McKuin, 434 F.2d 391, 395-396 (8th Cir. 1970), cert. denied, 401 U.S.
911 (1971)). “Although a conspiracy count is not always essential for joinder of
counts which do not all include every joined defendant, in the absence of such
an allegation, other facts must be alleged which at least suggest the existence
of an overall scheme encompassing all the defendants and all the charged
offenses.” Bledsoe, 674 F.2d at 656-657.


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      Once it is determined that defendants are properly joined under Rule

8(b), “[t]he presumption against severing properly joined cases is strong.”

United States v. Ruiz, 412 F.3d 871, 886 (8th Cir. 2005). “Under Fed. R. Crim.

P. 14(a), the issue of severance is entrusted to the sound discretion of the trial

judge.” United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006) (internal

quotation omitted).

      Even if joinder of two or more defendants is proper under Rule 8(b), the

court may sever the defendants’ trials under Fed. R. Crim. P. 14 if joinder of

the defendants appears to prejudice a defendant or the government. United

States v. Davis, 534 F.3d 903, 916 (8th Cir. 2008). The fact that a defendant is

alleged to have played a small role in the overall scheme or conspiracy is not

dispositive of whether severance should be granted. United States v. Anthony,

565 F.2d 533, 538 (8th Cir. 1977).

      A defendant who seeks severance under Rule 14 must show “real

prejudice.” Davis, 534 F.3d at 916. “Real prejudice” consists in showing

(1) that the moving defendant’s defense “is irreconcilable with that of his co-

defendant or (2) the jury will be unable to compartmentalize the evidence as it

relates to the separate defendants.” Id. at 916-917 (quoting United States v.

Mickelson, 378 F.3d 810, 817-818 (8th Cir. 2004)).

      “Severance is not required merely because evidence that is admissible

only against some defendants may be damaging to others, . . .” Mickelson, 378


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F.3d at 818. “Nor is it enough for a defendant to claim, . . . that he needed a

separate trial in order to call a co-defendant as a witness. He must show that

it is likely his co-defendant actually would have testified and that this

testimony would have been exculpatory.” Id. (citing United States v. Delpit, 94

F.3d 1134, 1143-1144 (8th Cir. 1996)). “Generally, the risk that a joint trial will

prejudice one or more of the defendants ‘is best cured by careful and thorough

jury instructions.’ ” Davis, 534 F.3d at 916-917 (quoting Mickelson, 378 F.3d

at 818; and citing Zafiro, 506 U.S. at 537).

      In United States v. Jones, 880 F.2d 55 (8th Cir. 1989), the Eighth Circuit

decided the propriety of a joint trial of multiple defendants who were all

charged with participating in the same drug distribution conspiracy. Id. at 62.

The court, citing the proposition that co-conspirators should in the usual case

be tried together, held that no error had occurred. Id. at 62-64. Specifically,

the court found that joinder under Rule 8(b) was proper, and that defendants

had not successfully shown that any real prejudice occurred due to being tried

together. Id.

      Here, Mr. Stockman does not even articulate any prejudice likely to occur

as a result of a joint trial.2 Thus, the court finds that he has failed to carry his


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       Mr. Stockman suggests that there may be out-of-court statements made
by Mr. Bradley that may be admitted at trial that may violate Stockman’s
confrontation rights under the Sixth Amendment and Bruton v. United States,
391 U.S. 123 (1968). This argument is grounded in speculation as
Mr. Stockman identifies no such out-of-court statements by Bradley. The

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“heavy burden” of demonstrating that severance is necessary under Rule 14

because he cannot otherwise obtain a fair trial. United States v. Warfield, 97

F.3d 1014, 1019 (8th Cir. 1996). Accordingly, Mr. Stockman’s motion to sever

his trial from that of his co-defendant Joe Bradley is denied.

B.    Severance of the Three Charges Against Mr. Stockman is Not
      Warranted

      Mr. Stockman also seeks a severance of the trials of Counts I, II, and III,

against him. While Rule 8(b) applies to determine the propriety of joinder of

defendants, Rule 8(a) applies to determine the propriety of the joint trial of

several charges. Rule 8(a) provides “[t]he indictment or information may charge

a defendant in separate counts with 2 or more offenses if the offenses

charged–whether felonies or misdemeanors or both–are of the same or similar

character, or are based on the same act or transaction, or are connected with

or constitute parts of a common scheme or plan.” United States v. Taken Alive,

513 F.3d 899, 902 (8th Cir. 2008) (quoting Fed. R. Crim. P. 8(a)). Rule 8(a) “is

broadly construed in favor of joinder to promote the efficient administration of

justice.” Id. at 902-903 (citing United States v. Little Dog, 398 F.3d 1032, 1037

(8th Cir. 2005); United States v. Rock, 282 F.3d 548, 552 (8th Cir. 2002)).

      “ ‘ “Where evidence that a defendant had committed one crime would be

probative and thus admissible at the defendant’s separate trial for another


court denies this argument as moot. Mr. Stockman may renew the motion if
and when a concrete Bruton issue can be identified.

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crime, the defendant does not suffer any additional prejudice if the two crimes

are tried together.” Taken Alive, 513 F.3d at 903 (quoting United States v.

Rodgers, 732 F.2d 625, 630 (8th Cir. 1984) (quoting United States v. Dennis,

625 F.2d 782, 802 (8th Cir. 1980)).

      In the Taken Alive case, the defendant was accused of committing one

assault on February 9, and a second assault that resulted in the death of the

victim on March 9. Id. at 901-902. Both assaults occurred after the defendant

and the victims had been drinking alcohol heavily. Id. Both assaults were

carried out in similar fashion. Id. On appeal, the Eighth Circuit affirmed the

district court’s decision to try Taken Alive on both assaults in the same trial.

Id. at 902-904. Relying on Fed. R. Evid. 404(b), the court reasoned that “the

evidence of one assault would be admissible in the separate trial of the other

assault if admitted to prove something other than character.” Id. at 903.

Thus, even in separate trials, each jury would inevitably know about the other

assault. Id. Under such circumstances, there was no prejudice in trying the

two charges together. Id.

      Here, the court likewise reaches the same conclusion. Counts II and III

are predicate acts for the conspiracy charged in Count I. Thus, a trial of Count

I would almost certainly involve introduction of the evidence as to Counts II

and III. A separate trial of Count II or III would involve the introduction of

Stockman’s participation in the conspiracy charged in Count I, under Rule


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404(b) if not under other theories of admissibility. The acts charged in all three

counts are of the same or similar character. Thus, the court concludes that

they should be tried together.

C.    Mr. Stockman Has Not Provided Legal Authority in Support of His
      Multiplicity Argument

      Mr. Stockman’s brief in support of his motion to sever contains the bare

allegation that Counts II and III are mulitiplicitous. See Docket No. 25, at page

2. He does not favor the court with any citation to any legal authority in

support of this argument. Accordingly, the court denies the motion based on

this argument for failure to support the argument with citation to law. See

Docket No. 13, at ¶ 2 (Court’s Standing Order, providing that “[n]o motions

shall be entertained unless they are accompanied by a reasoned memorandum

setting forth the precise issues to be considered by the court, together with an

explanation of the relevant law to the particular facts of the case. The filing of

“boilerplate” motions or memoranda will not satisfy this requirement.”).

                                  CONCLUSION

      Good cause appearing, it is hereby

      ORDERED that Ben Stockman’s motion for severance [Docket No. 24] is

denied.

                         NOTICE OF RIGHT TO APPEAL

      Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

of this order before the district court upon a showing that the order is clearly

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erroneous or contrary to law. The parties have ten (10) days after service of

this order to file written objections pursuant to 28 U.S.C. § 636(b)(1), unless an

extension of time for good cause is obtained. See Fed. R. Crim. P. 58(g)(2).

Failure to file timely objections will result in the waiver of the right to appeal

questions of fact. Objections must be timely and specific in order to require

review by the district court.

      Dated July 28, 2009.

                                BY THE COURT:


                                /s/   Veronica L. Duffy
                                VERONICA L. DUFFY
                                UNITED STATES MAGISTRATE JUDGE




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